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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK
__________________________________________x

In re Terrorist Attacks on September 11, 2001                MDL 1570
__________________________________________x

This filing applies to the Estate of John P.
O’Neill, Sr., et al. v. Kingdom of Saudi Arabia,
et al. - 04-CV-01922 (GBD)
_________________________________________ x
                                          :
THE ESTATE OF JOHN PATRICK O’NEILL, SR.,:
ON BEHALF OF JOHN PATRICK O’NEILL, SR., :
DECEASED AND ON BEHALF OF                 :
DECEDENT’S HEIRS-AT-LAW, et al.,          :
                        Plaintiffs        :                  CASE NO.: 04-CV-01922 (GBD)
                                          :
                  v.                      :
                                          :
KINGDOM OF SAUDI ARABIA, et al.           :
                        Defendants        :
_________________________________________ x




                          CHANGE ADDRESS OF APPEARANCE

To:    The Clerk
       United States District Court
       Southern District of New York
       500 Pearl Street,
       New York, New York 10007-1312

Please take notice that effective May 1, 2008 we are relocating our offices and firm affiliation:
       Old Address-           Jerry S. Goldman, Esquire
                              Law Offices of Jerry S. Goldman & Associates, P.C.
                              111 Broadway, Suite 1305
                              New York, NY 10006
                              Phone: 212-242-2232
                              Fax: 212-346-4665

       New Address-           Jerry S. Goldman, Esquire
      Case 1:03-md-01570-GBD-SN Document 2083 Filed 04/25/08 Page 2 of 3




                                   Anderson Kill & Olick, P.C.
                                   1251 Avenue of the Americas
                                   New York, NY 10020
                                   Phone: 212-278-1000
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                                   Jgoldman@andersonkill.com


Dated: April 25, 2008

                                           LAW OFFICES OF JERRY S. GOLDMAN
                                                & ASSOCIATES, P.C.



                                           By: _______/S/________________________________
                                               JERRY S. GOLDMAN, ESQUIRE (JG8445)
                                                        Attorney for Plaintiffs




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                                     CERTIFICATE OF SERVICE

    The Undersigned hereby certifies that a true and correct copy of the foregoing Change

Address of Appearance has been served upon all counsel via the Court's electronic filing system

on the 25th day of April, 2008.




Dated: New York, NY
      April 25, 2008


                                                          LAW OFFICES OF JERRY S. GOLDMAN
                                                             & ASSOCIATES, P.C.


                                                          By: __/S/___________________________
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